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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF NEW YORK

NATIONAL RIFLE ASSOCIATION OF               §
AMERICA,                                    §
                 Plaintiff,                 §   CIVIL CASE NO. 18-CV-00566-TJM-
v.                                          §   CFH
ANDREW CUOMO, both individually and         §
in his official capacity; MARIA T. VULLO,   §
both individually and in her official       §
capacity; and THE NEW YORK STATE            §
DEPARTMENT OF FINANCIAL                     §
SERVICES,                                   §
                 Defendants.                §
                                            §
                                            §
                                            §
                                            §

MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT MARIA T. VULLO’S
    MOTION TO COMPEL PLAINTIFF’S INTERROGATORY ANSWERS


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                                   ASSOCIATION OF AMERICA
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        Plaintiff the National Rifle Association of America (the “NRA”) submits this memorandum

of law in opposition to defendant Maria T. Vullo’s (“Vullo”) motion to compel the NRA’s

interrogatory answers (the “Motion”), as follows:

                                                I.
                                      PRELIMINARY STATEMENT

        Vullo, her former colleagues at the New York State Department of Financial Services

(“DFS”), and her former boss, Governor Andrew Cuomo (“Cuomo”), stand accused of coercively

leveraging DFS’ regulatory powers over insurance companies to force them to cease doing

business with the NRA. That coercion included statements made by Vullo directly to executives

of at least one underwriting provider, Lloyd’s,1 that Lloyd’s would receive more favorable

treatment from DFS if it selectively discontinued services to the NRA.2 The NRA’s allegations

have now withstood three motions to dismiss, and for over two years, the NRA has sought

discovery from Vullo and DFS to no avail—even after the Court granted the NRA’s motion for an

expedited deposition of Vullo more than a year ago.3 Rather than comply with their discovery

obligation to provide documents and information which would illuminate details of the meetings

the NRA is informed and believed occurred, Vullo and the other Defendants continue to lodge

successive dismissal motions and motions to reconsider.4 Vullo has also improperly threatened

Rule 11 sanctions,5 and now wishes to waste this Court’s time with a motion to compel a response




        1
          Lloyd’s syndicates are comprised of one or more members of the Lloyd’s market that provide capital to
underwrite insurance policies. These syndicates are managed by managing agents on behalf of the members. See The
Lloyd’s Market, LLOYD’S, https://www.lloyds.com/about-lloyds/what-is-lloyds/the-lloyds-market.
        2
            See Second Amended Complaint, ECF No. 203 (“SAC”), at ¶¶21, 68-70.
        3
            See March 20, 2019 Memorandum-Decision & Order permitting the NRA to depose Vullo, ECF No. 89.
        4
            See ECF Nos. 27, 40, 63, 95, 199, 210, 211.
        5
            See Motion at 5; see also ECF No. 250 at 3.

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to a premature set of contention interrogatories regarding her own meetings with Lloyd’s. These

maneuvers serve no cognizable legitimate purpose and appear designed to harass the NRA and

evade the discovery to which the NRA is entitled.         The Court should not entertain such

gamesmanship.

           First, the NRA has already complied—repeatedly—with its discovery obligations. Vullo

is alleged to have met during or around February 2018 with representatives of Lloyd’s, at which

time she coerced them to cease insuring NRA-related products. The individuals with personal

knowledge of the substance of those meetings are Vullo and the Lloyd’s representatives who were

present. In its initial disclosures, the NRA identified former Lloyd’s CEO Inga Beale as one person

with knowledge.6 The NRA disclosed the same in response to Vullo’s Interrogatories.7 Although

the NRA believes that other individuals were present at the alleged meetings, Vullo knows the

identities of such participants. The NRA reserves its right to amend its initial disclosures and

interrogatory response as appropriate whenever Vullo and DFS provide the discovery to which the

NRA is entitled.

           Second, Vullo’s demand to know how the NRA’s counsel learned certain information is

an improper attempt to invade the NRA’s investigation, which this Circuit has repeatedly held to

constitute protected attorney work product. Vullo has demonstrated no substantial need for the

information she seeks, as required to overcome the qualified work product privilege. Although

Vullo cites various securities cases where courts compelled disclosure of the identities of

confidential witnesses employed by securities issuers, such decisions are inapposite. Here, there

is no need to ferret out names of issuer employees likely to have firsthand knowledge of business



6
    See ECF No. 257 at 3.
7
    See ECF No. 293-6 at 2-3.
                                                2
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activities imputable to their employer. Instead, Vullo is alleged to have personally participated in

the meetings at issue. Vullo and DFS know the identities of others who were present and the

details of their own conversations. Knowing the source of the NRA’s knowledge will not aid

Vullo in discovering whom she met with at Lloyd’s, on which dates, or what they discussed. Vullo

and DFS possess such information, however, and should produce it.

        The NRA makes its allegations in good faith. If they are false, as Vullo insists, then Vullo

and DFS should promptly produce relevant documents (which the Court ordered be produced

months ago, and Defendants continue to withhold without justification),8 abandon their efforts to

obstruct Hague discovery from relevant Lloyd’s entities, and agree to a date for an in-person

deposition of Vullo. This would ensure that the true and full facts regarding Vullo’s interactions

with Lloyd’s can become public record. Instead, Vullo and the other Defendants have taken the

exact opposite posture: moving to stay discovery, even from third parties, while seeking to compel

disclosure of work product by the NRA.9

        The Court should deny Vullo’s motion—and, as argued in a separate submission,10 should

promptly permit discovery to proceed.

                                                    II.
                                             LEGAL STANDARD

        Under Rule 26(b)(3) of the Federal Rules of Civil Procedure, material prepared by or at the

request of an attorney in anticipation of litigation is not subject to discovery.11 A party may




        8
            See ECF No. 295 at 2.
        9
            See ECF Nos. 302, 303.
        10
             See Plaintiff’s opposition to Defendants’ motions to stay discovery, ECF No. 306.
        11
           See Feacher v. Intercontinental Hotels Grp., No. CIV.A. 3:06-CV-0877, 2007 WL 3104329, at *1
(N.D.N.Y. Oct. 22, 2007) (citing Hickman v. Taylor, 329 U.S. 495, 67 S. Ct. 385, 91 L. Ed. 451 (1947)); see also
Smalls v. New York Hosp. Med. Ctr. of Queens, No. 13 CV 1257 (RRM), 2013 WL 12333083, at *2 (E.D.N.Y. Oct
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withhold production of material that is (1) a document or tangible thing;12 (2) that was prepared in

anticipation of litigation; and (3) that was prepared by or for a party, or by his

representative,13 unless the requesting party can demonstrate a “substantial need of the materials

in the preparation of the party’s case and that the party is unable without undue hardship to obtain

the substantial equivalent of the materials by other means.”14

         The Supreme Court in Hickman v. Taylor recognized that “it is essential that a lawyer work

with a certain degree of privacy, free from unnecessary intrusion by opposing parties and their

counsel. Proper preparation of a client’s case demands that he assemble information, sift what he

considers to be the relevant from the irrelevant facts, prepare his legal theories and plan his strategy

without undue and needless interference.”15

         By its terms, Rule 26(b)(3) makes clear that the work product doctrine protects work done

in anticipation of litigation or trial by an attorney, as well as a party or other agents of the party or

its representative, including materials produced or information possessed by an agent working for

an attorney, such as an investigator.16 “The work product doctrine serves to encourage vigorous



15, 2013) (citing Fed. R. Civ. P. 26(b)(3); In re Grand Jury Subpoenas Dated Mar. 19. 2002 & Aug. 2, 2002, 318 F.3d
379, 383 (2d Cir. 2002)).
         12
            See United States v. Dist. Council of New York City & Vicinity of United Bhd. of Carpenters & Joiners of
Am., No. 90 CIV. 5722 (CSH), 1992 WL 208284, at *7 (S.D.N.Y. Aug. 18, 1992) (“Although the work product
doctrine is most commonly applied to documents and things, unjustified disclosure of the opinions or mental processes
of counsel may occur when questions are posed which seek information at depositions or in interrogatories.”) (citing
4 Moore's Federal Practice, ¶ 26.64[1] at 26–349 (2d ed. 1991)).
         13
            See Feacher, 2007 WL 3104329, at *1 (citing United States v. Adlman, 68 F.3d 1495, 1500-01 (2d
Cir.1995) (“The work-product rule shields from disclosure materials prepared “in anticipation of litigation” by a party,
or the party’s representative, absent a showing of substantial need.”))
         14
              See id., at *4 (quoting Fed. R. Civ. P. 26(b)(3)).
         15
             See Hickman, 329 U.S. 495, 67 S. Ct. 385, 91 L. Ed. 451 (precluding discovery of oral and written
statements of witnesses, or other information, secured by an adverse party’s counsel in the course of preparation for
possible litigation).
         16
          See id. (attorneys often must rely on investigators and work product doctrine applies to materials prepared
by such agents) (citing United States v. Nobles, 422 U.S. 225, 95 S. Ct. 2160, 45 L. Ed. 2d 141 (1975); see also
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investigation of disputed claims, unfettered by fear that the products of such efforts will be

compromised and fall into an adversary’s hands.”17 In determining whether information is

protected work product, courts have considered such factors as: the extent to which the substance

of an attorney's thinking and strategy would actually be revealed; the timing of such revelation;

and whether the information was otherwise available to the seeking party or beyond its reasonable

access.18

                                                 III.
                                       ARGUMENT AND AUTHORITIES

A.       The NRA Has Complied With Its Discovery Obligations, But Defendants Have Not—
         Making the Motion, At Best, Premature. _____________________________________

         Defendant Vullo asks this Court to remedy alleged deficiencies in the NRA’s response to

an interrogatory seeking the names of individuals with knowledge of her improper interactions

with Lloyd’s executives, as well as additional details regarding those meetings.19                              Vullo’s

Interrogatories are substantially duplicative of the initial disclosures already required under

Federal Rule 26(a) (which the NRA provided), and her Motion identifies no actual deficiency in

the NRA’s response. Vullo asked about the individuals with knowledge of the alleged meetings,

and the NRA identified one former Lloyd’s executive, Inga Beale, by name;20 it also indicated that




Feacher, 2007 WL 3104329, at *2 (citing Lopez v. City of New York, No. 05-CV-3624, 2007 WL 869590, at *2
(E.D.N.Y. Mar. 20, 2007)).
         17
            See Feacher, 2007 WL 3104329, at *3 (finding that a factual witness statement constitutes work product
“[b]ecause the work product doctrine, as embodied in Rule 26(b)(3), does not stop at protecting mere litigation
strategy, but instead goes further to insure that, by affording protection to the results of investigations into litigated
claims, the adversary system upon which our civil judicial system is predicated the interests of justice will best be
served, the distinction between litigation strategy and matters of pure fact does not control
the work product analysis.”)
         18
              See id.
         19
              See Motion at 6-8, 10.
         20
              See ECF No. 293-6 at 2-3.

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other Lloyd’s senior representatives likely participated in such meetings.21 The NRA additionally

provided responsive information regarding the time period of the alleged meetings.22 It is unclear

what else Vullo requires in order to proceed in this case, nor is there any merit to her contention

that the NRA’s disclosures to date deprive her of a meaningful opportunity to conduct discovery.23

“[A] list of individuals who have knowledge of information about the parties’ claims or defenses

[…] is sufficient”24 to allow a litigant to pursue discovery. “The determination of whether such

[individuals] possess relevant information is [Vullo]’s to make.”25 Vullo is free to depose Beale

and the individuals who participated in the alleged meetings—whose names are known to Vullo

or to DFS. 26

         Vullo’s claim that she is entitled to additional disclosure regarding how the NRA learned

of this information or “confirmation of [the NRA’s] lack of any factual basis”27 for its allegations

is unsupported by law or common sense. The NRA has already survived multiple motions to

dismiss and has identified individuals and entities that—to its knowledge—have information

regarding the subject matter of the litigation. Any additional detail regarding the Vullo-Lloyd’s

meetings remains uniquely within Vullo’s knowledge or within the knowledge of third parties.



         21
              See id.
         22
              See SAC at ¶¶21, 69.
         23
            Vullo inexplicably cites Flannigan v. Vulcan Power Grp., LLC, 642 F. App'x 46, 50 (2d Cir. 2016) in
support of this point. Flannigan concerned the admissibility of witness testimony at trial where the witness had not
been disclosed in earlier discovery responses. This Motion has no bearing on who will appear at trial—indeed, the
source of the NRA’s information is not a contemplated trial witness—and Vullo is free to litigate the propriety of the
NRA’s trial witnesses when that time comes.
         24
              See e.g. Smalls, 2013 WL 12333083, at *2.
         25
              See id.
         26
           See Liveperson, Inc. v. 24/7 Customer, Inc., No. 14 CIV. 1559 RWS, 2015 WL 4597546, at *7 (S.D.N.Y.
July 30, 2015).
         27
              See Motion at 9-13.

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Having survived multiple motions to dismiss, the NRA is entitled to discovery from Vullo about

the subject matter of its allegations—not obligated to indulge in Defendants’ continued

stonewalling of their own discovery responses, while submitting to invasive demands for details

of NRA counsel’s investigation and mental impressions. Given that the NRA has yet to receive

meaningful discovery from Vullo or DFS, Vullo’s Motion is, at best, premature—because “only

after discovery is completed will the Court properly have evidence before it regarding the veracity

of Plaintiff’s allegations.”28 Courts have found contention interrogatories premature where no

“significant discovery has taken place;”29 indeed, “if served before prior discovery has established

a reasonable factual predicate,” such interrogatories “may do more harm than good.”30 Vullo’s

own cases are consistent with these principles: in J.S. v. Attica Cent. Sch.31 and In re Savitt/Adler

Litig,32 upon which Vullo relies, the parties had already exchanged documents and conducted

depositions. In this case, DFS possesses tens of thousands of documents regarding its activities




         28
           See Luv N' Care, Ltd. v. Shiboleth LLP, No. 16-CV-3179 (AJN), 2017 WL 3671039, at *13 (S.D.N.Y.
Aug. 8, 2017) (denying motion for sanctions); see also Baskin v. Lagone, No. 90 CIV. 5478 (RPP), 1993 WL 59781,
at *6 (S.D.N.Y. Mar. 3, 1993) (same).
         29
            See Protex Int'l Corp. v. Vanguard Products Group, Inc., No. CV 05–5355, 2006 WL 3827423, at *2
(E.D.N.Y. Dec. 27, 2006) (finding that “[t]he burden imposed on Protex in responding to these requests outweighs the
likelihood that useful information will be produced when Protex has not had discovery of [defendant's] documents.”);
see also Richard v. Dignean, No. 11-CV-6013W, 2017 WL 3083916, at *5 (W.D.N.Y. July 20, 2017) (“Richard
appears to challenge the veracity of several statements made by defendants in their pleadings and other filings. Such
challenges are premature and must await resolution by the trier of fact on a dispositive motion or at trial.”); Shannon
v. New York Transit Auth., No. 00 CIV. 5079, 2001 WL 286727, at *3 (S.D.N.Y. Mar.22, 2001) (finding that because
only document discovery had occurred, the contention interrogatories were premature); Roth v. Bank of
Commonwealth, No. CIV-76-16E, 1988 WL 43963, at *5 (W.D.N.Y. May 4, 1988); (finding that half of defendants'
interrogatories were “contention interrogatories and need not be answered until the substantial completion of pretrial
discovery”); Fischer & Porter Co. v. Tolson, 143 F.R.D. 93, 95 (E.D. Pa. 1992) (denying defendants’ motion to
compel responses to contention interrogatories because “substantial discovery remains to be conducted ...”).
         30
              In re Facebook, Inc., 2016 WL 5080152, at *3 (S.D.N.Y. July 7, 2016). (emphasis added).
         31
              See J.S. v. Attica Cent. Sch., No. 00-CV-513S(F), 2008 WL 2986388 (W.D.N.Y. July 31, 2008).
         32
              See In re Savitt/Adler Litig., 176 F.R.D. 44, 48 (N.D.N.Y. 1997).

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during Vullo’s tenure which it continues to withhold,33 even after Judge McAvoy granted the

NRA’s motion to compel34 and the Special Master overruled Defendants’ frivolous privilege

claims.35 Not a single deposition has occurred—nor can any occur while Defendants’ motion for

(yet another) stay of discovery remains pending.36 Despite their complaints about the burden and

expense of litigating while they continue to seek dismissal of the NRA’s claims,37 Vullo and the

other Defendants have made time to oppose the NRA’s pursuit of Hague discovery, which would

allow documents and depositions to be sought from key Lloyd’s personnel.38 Requiring the NRA

to provide details of interactions to which it was not a party without the benefit of pre-trial

discovery is not only not required by Rules 26 or 33, but would also be unfair given the paucity of

discovery the NRA has received to date.

B.      The Identities of Individuals Interviewed by NRA Counsel Are Not Proper Subjects
        of Discovery. ____________________________________________________________

        Despite already having been provided with the names of witnesses the NRA believes

possess personal knowledge regarding her threats to Lloyd’s, Vullo demands “the information

upon which Plaintiff has based its understanding and belief” as alleged in the Complaint.39 This

can only be construed as an improper demand for “the identification of persons who have been

contacted or interviewed by counsel concerning the case,” which courts have repeatedly held




        33
             See Cuomo and DFS’s motion to stay discovery, ECF No. 302, at 4.
        34
             See ECF No. 188.
        35
             See Special Master’s First and Second Report and Recommendation.
        36
             See October 7, 2020 Text Minute Entry for teleconference held before Magistrate Judge Hummel.
        37
           See Cuomo and DFS’s motion to stay discovery, ECF No. 302, at 6; see also Vullo’s motion to stay
discovery, ECF No. 303, at 16.
        38
             See ECF Nos. 258, 259.
        39
             See Motion at 10.

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constitutes protected work product,40 which encroaches upon counsel’s mental impressions and

trial strategy.41      Accordingly, the weight of authority in the Second Circuit excludes such

information from discovery.42 “How a party, its counsel and agents choose to prepare their case,

the efforts they undertake, and the people they interview is not factual information to which an

adversary is entitled.”43 As such, questions seeking the identity of witnesses with knowledge of

facts underlying the allegations in a complaint or the identification of documents that support the

allegations are protected as work product.44




         40
           See Smalls v. New York Hosp. Med. Ctr. of Queens, No. 13 CV 1257 (RRM), 2013 WL 12333083, at *2
(E.D.N.Y. Oct 15, 2013) (denying plaintiff’s request to compel defendants to provide a list of individuals interviewed
regarding plaintiff’s allegations) (citing Didonna v. Village Farms IGA, LLC, No. CV 12-1487 JS ARL, 2012 WL
3879149, at *3 (E.D.N.Y. Sept. 6, 2012), and Tracy v. NVR, Inc., 250 F.R.D. 130, 132 (W.D.N.Y. 2008)).
         41
             See Didonna, 2012 WL 3879149, at *1 (in denying plaintiff’s motion to compel, the court concluded that
the information sought⸻identity of individuals that defense counsel had interviewed concerning the allegations in
plaintiff's complaint in order to identify potential fact witnesses, and identity of each individual who had given oral,
written or recorded statements about facts alleged in the pleadings together with specific information about those
statements⸻“does disclose an attorney’s mental impressions and strategies.”)
         42
           See id. (citing Seven Hanover Ass'n v. Jones Lang LaSalle Am., Inc., No. 04 CIV. 4143 PACMHD, 2005
WL 3358597, at *1 n.1 (S.D.N.Y. Dec. 7, 2005) (finding that “[d]efendant [was] free to ask for names of persons with
knowledge of the facts, but [was] not entitled, through plaintiffs, to identification of who among such knowledgeable
individuals [had] been interviewed by plaintiffs’ attorney”)).
         43
            See id. (quoting Dist. Council of New York City, No. 90 CIV. 5722 (CSH), 1992 WL 208284, at *10); see
also Kogut v. Cty. of Nassau, No. CV066695JSWDW, 2011 WL 13284713, at *4 (E.D.N.Y. Nov. 9, 2011) (denying
in part motion to compel because the identity of the witnesses actually interviewed by the County attorneys is …
protected” and “[w]hile defendants must disclose the names of individuals with discoverable information, defense
counsel’s decisions as to which of those individuals to interview constitute attorney work product.”); Tracy, 250
F.R.D. 130, 133 (denying motion to compel because work product doctrine protected from disclosure identity of
individuals whom employer’s counsel had interviewed and from whom counsel had requested documents, and
information about individuals who assisted employer’s counsel in responding to employee’s discovery demands.); US
Bank Nat. Ass'n v. PHL Variable Ins. Co., No. 12 CIV. 6811 CM JCF, 2013 WL 5495542, at *10 (S.D.N.Y. Oct. 3,
2013) (denying motion to compel because the identities of the individuals the plaintiff interviewed in its investigation
were protected as work product.); Steele v. CVS Pharmacy, Inc., No. 15CV4261JGKKNF, 2016 WL 1659317, at *1
(S.D.N.Y. Apr. 18, 2016) (denying motion to compel after in camera review because the identities of third-party
witnesses pertinent to the case have the potential to reveal counsel’s opinions, thought processes or strategies and are,
therefore, protected as work product.)
         44
              See Dist. Council of New York City, 1992 WL 208284, at *7 (citing Hickman v. Taylor, 329 U.S. 495, 67
S.Ct. 385).

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        Vullo relies on a handful of securities fraud cases for the proposition that litigants relying

upon information from confidential witnesses must identify those witnesses.45 But none of Vullo’s

cases bear any resemblance to this one, and all involve disclosures sought by defendant

corporations regarding identities of current or former employees whose conduct could be imputed

to the corporation. In Plumbers, for example, the corporate defendant was accused of concealing

information about delays and problems plaguing a technology it planned to launch, and moved to

compel disclosure of the identities of current or former employees who knew about the problems

with its product.46 Similarly, in In re IPO, the corporate defendant was accused of entering into

improper tie-in arrangements with prospective purchasers of the IPO in order to inflate the

aftermarket price of its shares, and sought to discover the identities of employees and

counterparties who purportedly had firsthand knowledge of this scheme.47 In both cases, all

witnesses had direct personal knowledge of conduct imputable to the corporate defendant, but

potentially unknown by its leadership;48 moreover, at least some of the confidential witnesses were

contemplated deposition or trial witnesses.49 The courts in those cases determined that because

these individuals possessed firsthand information and their identities would ultimately become

known via depositions, there was no basis to withhold their identities during earlier discovery as




        45
             See Motion at 8.
        46
           See Plumbers & Pipefitters Local Union No. 630 Pension-Annuity Tr. Fund v. Arbitron, Inc., 278 F.R.D.
335, 344 (S.D.N.Y. 2011).
        47
             See In re Initial Pub. Offering Sec. Litig., 220 F.R.D. 30 (S.D.N.Y. 2003).
        48
             See Plumbers, 278 F.R.D. 335 and In re Initial Pub. Offering Sec. Litig., 220 F.R.D. 30.
        49
             See, e.g., Plumbers, 278 F.R.D. at 340.

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“work product,”50 or, in the alternative, that any work-product protection was overcome by the

substantial need of the defendant.51

         The NRA will duly disclose, at the appropriate time, the identities of any witnesses it plans

to offer at trial. It has also complied with its initial disclosure obligations and responded to Vullo’s

interrogatories. Vullo now, additionally, urges the Court to order an impermissible fishing

expedition into how the NRA’s counsel learned of the existence of certain events, and which

conversations NRA counsel had in mind when certain allegations were drafted. Such disclosures

would be improper, and would “at best marginally relevant to the issues at stake in this litigation.”52

In this situation, Vullo does not and cannot show “substantial need.”53

         The allegations in the SAC are grounded in facts uncovered through months of

investigative work conducted by NRA counsel and a consulting expert.54 Such information would

reveal the mental impressions and strategies of the NRA’s counsel in ascertaining the relevance

and sufficiency of facts alleged in the NRA’s complaint. Therefore, the identities and statements

of individuals consulted by NRA counsel in support of the NRA’s allegations is protected work

product.

C.       Vullo Has No Substantial Need For The Requested Information.

         The production of material prepared in anticipation of litigation may be ordered only if the

requesting party can demonstrate a “substantial need of the materials in the preparation of the


         50
              See In re Initial Pub. Offering Sec. Litig., 220 F.R.D. 30.
         51
              See Plumbers, 278 F.R.D. 335.
          See Management Information Technologies, Inc. v. Alyeska Pipeline Serv’s Co., 151 F.R.D. 478, 482
         52

(D.D.C. 1993) (denying motion to compel because the identities of the confidential informants who might be subject
to retaliation did not “go to the heart of the case”).
         53
              See Feacher, 2007 WL 3104329, at *1.
         54
              See ECF No. 155 at 6-7.

                                                             11
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party’s case and that the party is unable without undue hardship to obtain the substantial equivalent

of the materials by other means.”55 Here, Vullo is improperly attempting to secure privileged

communications between NRA counsel and multiple individuals who claim knowledge of the facts

underlying the NRA’s claims without any showing of necessity or any indication or claim that

denial of such production would unduly prejudice the preparation of her case or cause any hardship

or injustice.

        Importantly, Vullo seeks information that is already in her possession.56 As alleged in the

SAC, Vullo, and the other Defendants, either stated, published, or were party to the threats,

backroom exhortations, and backchannel communications at issue. As such, they are uniquely

situated to identify responsive information that resides in information and documents to which the

NRA continues to be denied access. Indeed, Vullo is fully aware that the details of the threats,

backroom exhortations, and backchannel communications are among those sought by the NRA

through discovery served almost two years ago, to which Defendants still have not meaningfully

responded.

        This stands in stark contrast to cases like Plumbers,57 In re IPO,58 and In re SLM,59 where

the facts at issue were known to the specific witnesses and, while legally imputable, were not

known to the corporate defendants.60 The courts in those cases noted the burden that would attach



        55
           See Feacher, 2007 WL 3104329, at *1 (quoting Fed. R. Civ. P. 26(b)(3)); see also Dist. Council of New
York City, 1992 WL 208284, at *7.
        56
             See SAC at ¶¶21, 69
        57
             See Plumbers, 278 F.R.D. 335.
        58
             See In re Initial Pub. Offering Sec. Litig., 220 F.R.D. 30.
        59
             See In re SLM Corp. Sec. Litig., No. 08 CIV. 1029, 2011 WL 611854 (S.D.N.Y. Feb. 15, 2011).
        60
           See In re Savitt (finding substantial hardship test met where “critical information [was] in the sole
possession” of the non-requesting party).

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of having to both (i) identify which of their thousands of employees had relevant knowledge, and

(ii) play a game of “Where’s Waldo” in identifying which of the witnesses identified in

interrogatory responses consisting of dozens of names were the confidential witnesses. The SLM

court further noted that there was no other source for the information other than the witnesses at

issue.61 Here, the NRA has identified only 24 potential witnesses, and more importantly, Vullo

has no need to find “Waldo” amongst hundreds or thousands of employees. She has specific,

personal information about the events at issue that is superior to what the NRA currently possess.

       Vullo cannot possibly show a substantial need for information relating to meetings in which

she participated. Tellingly, Vullo and the other Defendants continue to oppose Hague discovery

which would more fully illuminate the record of Vullo’s interactions with Lloyd’s, and provide

greater notice to all parties regarding the particularities of the backroom conversations which the

NRA is informed and believes occurred. Vullo opposes this discovery because she knows the

NRA’s claims are, in substance, true—not false.

D.     The NRA Has Not Waived Its Privilege Claims.

       Vullo argues that the NRA’s objection is waived because “it is an untimely response to

Defendants’ Interrogatories; it does not specify the type of privilege or protection being invoked;

and it was not presented as part of Plaintiff’s written objections to Defendants’ Interrogatories.”62

She is wrong.

       The NRA timely and specifically objected to General Instruction No. 3 of Defendants’

Interrogatories, which provides that “[i]n answering these interrogatories, plaintiff is to furnish all

information available to it, and/or its employees and agents, including its attorneys…” and to


       61
            See In re SLM, 2011 WL 611854.
       62
            See Motion at 13.

                                                  13
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Defendants’ definition of “Plaintiff” which purports to include the NRA’s attorneys. The NRA

stated in its objections and responses that “[t]he inclusion of the NRA’s attorneys makes it highly

likely that the Requests seek information that is protected by attorney client privilege or the work

product doctrine.”63 Indeed, courts have held that such language in interrogatories is improper as

it seeks information obtained from counsel in preparation for litigation which is protected by the

attorney-client and work product privileges.64 Vullo cites no authority for the proposition that the

NRA’s objection is insufficient to preserve its privilege claims. Instead, she argues that the NRA’s

“assertion did not give Ms. Vullo’s counsel any knowledge that the NRA’s response to

Interrogatory 2 was being withheld on work product grounds […]” It is evident that if Vullo asks

in her Instructions that the NRA provide information from its counsel in response to each

Interrogatory, the NRA’s objection on work-product and attorney-client privilege grounds applies

to each Interrogatory, including Interrogatory 2.

         Further, given that Defendants refused to detail or log their own privilege objections in

response to the NRA’s discovery requests (apparently did not even supply an adequate privilege

log for the Special Master until seven months after they were first ordered to do so by the Court),65



         63
            See Plaintiff’s Objections and Responses to Defendants’ First Set of Interrogatories, ECF 250-1, at 3; see
also Plaintiff’s Supplemental Objections and Responses to Defendants’ First Set of Interrogatories.
         64
           See e.g., Donson Stores, Inc. v. Am. Bakeries Co., No. 72 CIV. 3991/AB, 1973 WL 791, at *2 (S.D.N.Y.
Apr. 2, 1973) (striking the clause “including your counsel” from the interrogatory because such language seeks
information obtain from counsel in preparation for litigation and is therefore protected by the attorney-client and the
work product rule).
         65
             As detailed in connection with the NRA’s January 2019 motion to compel, the NRA patiently requested
on multiple occasions that Defendants supplement their broad, generic privilege objections with some form of
privilege log. Defendants refused. See Defendants’ Memorandum of Law in Opposition to Plaintiff’s motion to
compel, ECF No. 79 at 16-17 (arguing that Defendants are exempt from providing a privilege log or formally asserting
privilege). On August 8, 2019, the Court ordered Defendants to produce purportedly privileged documents for in
camera review, along with a privilege log. See ECF No. 121 at 53. As of June 11, 2020, the Special Master indicated
that he still had not received an adequate privilege log, and was required to demand basic categories of information
from Defendants, such as which documents were attached to which emails. (see id. at 26).

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they are in no position to contend that the NRA’s general objections in its interrogatory responses

effected a waiver of privilege. Notably, Vullo, and the other Defendants, argued the complete

opposite in their opposition to the NRA’s motion to compel. Indeed, they contended that

                The NRA’s claim that a formal assertion of privileges [including
                attorney work product that they characterized as a privilege] should
                have been made in the Defendants’ objections is also without merit.
                Apart from the fact that such a requirement is found nowhere in
                either the Federal Rules or in the Northern District’s Local Rules,
                given the Plaintiffs’ clearly improper demands the Rules do not yet
                require Defendant to particularize their assertions of privilege.66

In any event, as explained above, the NRA has not waived its privilege claims.




        66
           See Defendants’ memorandum of law in opposition to Plaintiff’s motion to compel, ECF No. 79, at 16
(emphasis added).

                                                     15
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                                             IV.
                                         CONCLUSION

         For the foregoing reasons, the NRA respectfully requests that this Court deny the Motion

in its entirety, award the NRA its attorneys’ fees incurred responding to the Motion, and grant the

NRA all appropriate relief.

Dated:    November 9, 2020                   Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I certify that on November 9, 2020, I caused a copy of the foregoing to be served upon the
following counsel electronically through the ECF system:

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                                                           /s/ Sarah B. Rogers
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